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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

                                    4:13CR00329-19-BSM

JESSIE ROBINSON

                                           ORDER

       The Court determined that a transcript was necessary in this case and requested it be

transcribed. The Clerk of the Court shall issue a check to Robin Warbritton in the amount of

$201.45 for preparation of the transcript submitted on December 2, 2013.

       IT IS SO ORDERED this 10th day of December 2013.


                                            ____________________________________
                                            JOE J. VOLPE
                                            UNITED STATES MAGISTRATE JUDGE
